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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)                          )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                                   )
                                                                                                                                     )   Case No. 07-cv-5944 JST
                                                                          9                                                          )
                                                                                                                                     )   ORDER REGARDING IRICO
                                                                         10   This Order Relates To:                                 )   ENTITIES
                               For the Northern District of California
United States District Court




                                                                                                                                     )
                                                                         11   ALL ACTIONS                                            )
                                                                                                                                     )
                                                                         12                                                          )
                                                                         13
                                                                         14           The Court previously granted the motion of Pillsbury Winthrop Shaw Pittman LLP
                                                                         15   (“Pillsbury”) to withdraw from representing defendants Irico Display Devices Co., Ltd. and Irico
                                                                         16   Group Corporation (the “Irico Entities”) in this action. ECF No. 731. The Court’s order granting
                                                                         17   the motion required that Pillsbury continue to accept service of papers for the Irico Entities for
                                                                         18   forwarding purposes in accordance with Civil Local Rule 11-5(b) until substitute counsel appeared
                                                                         19   on behalf of the Irico Entities. Id. Pillsbury now moves for relief from that order, because more
                                                                         20   than six years has passed and the Irico Entities have not yet retained substitute counsel. ECF No.
                                                                         21   4681.
                                                                         22           The Irico Entities are corporations. “A corporation may appear in federal court only through
                                                                         23   licensed counsel.” United States v. High Country Broad. Co., 3 F.3d 1244, 1245 (9th Cir. 1993).
                                                                         24   The same rule applies to all artificial entities. Rowland v. Cal. Men’s Colony, 506 U.S. 194, 202
                                                                         25   (1993). Thus, ordinarily, the Court would issue an order requiring the Irico Entities to retain new
                                                                         26   counsel within a specific period of time as a condition of continuing to appear in the action. If they
                                                                         27   did not do so, the Court would strike their answer(s) in the case and direct the plaintiff(s) to seek
                                                                         28   entry of the Irico Entities’ default.
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                                                                         1           It is not clear from this case’s unwieldy docket, however, that the Irico Entities have ever
                                                                         2    answered any complaint. For example, the Trustee of the Circuit City Stores, Inc. Liquidating Trust
                                                                         3    filed a First Amended Complaint against the Irico Entities and numerous defendants on October 16,
                                                                         4    2013, ECF No. 2016, but it does not appear that the Irico Entities ever filed an answer. In that
                                                                         5    event, the plaintiffs making claims against them should seek entry of default.
                                                                         6           It may also be the case that there are complaints against the Irico Entities that have not been
                                                                         7    served. Rule 4(m) of the Federal Rules of Civil Procedure provides in pertinent part that “[i]f a
                                                                         8    defendant is not served within 120 days after the complaint is filed, the court ‒ on motion or on its
                                                                         9    own after notice to the plaintiff ‒ must dismiss the action without prejudice against that defendant or
                                                                         10   order that service be made within a specified time.” Fed. R. Civ. P. 4(m). If Circuit City or other
                               For the Northern District of California
United States District Court




                                                                         11   plaintiffs have failed to comply with their service obligations under Rule 4, the Irico Entities should
                                                                         12   probably be dismissed altogether.
                                                                         13          Accordingly, the Court now orders any plaintiff with pending affirmative claims against the
                                                                         14   Irico Entities to advise the Court in writing by July 5, 2016 of the following: (1) the date on which
                                                                         15   it filed its operative claims against the Irico Entities; (2) whether the Irico Entities have been served
                                                                         16   with those claims; and (3) whether the Irico Entities have answered those claims. Any complaint,
                                                                         17   proof of service, or answer must be identified by docket number. If the answer to question two is
                                                                         18   negative, the filing party should show good cause why its claims should not be dismissed with
                                                                         19   prejudice. If the answer to question three is negative, the filing party should show good cause why
                                                                         20   it has not previously requested entry of default as to the Irico Entities.
                                                                         21          Once the Court has received this information, it will take further action on Pillsbury’s
                                                                         22   motion.
                                                                         23          IT IS SO ORDERED.
                                                                         24   Dated: June 28, 2016
                                                                         25
                                                                                                                                ______________________________________
                                                                         26                                                                    JON S. TIGAR
                                                                         27                                                              United States District Judge

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